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 6                IN THE UNITED STATES DISTRICT COURT FOR THE

 7                       EASTERN DISTRICT OF CALIFORNIA

 8

 9   UNITED STATES OF AMERICA,

10                     Plaintiff,
                                              CR. NO. S-08-0420 EJG
11                v.                          CIV NO. S-11-1866 EJG

12   IVAN QUINTERO JIMENEZ,                   ORDER DENYING § 2255 MOTION

13                  Defendant.
     _____________________________/
14

15        Defendant, a federal prisoner proceeding pro se, has filed a

16   motion to vacate, set aside or correct his sentence pursuant to

17   28 U.S.C. § 2255.    After reviewing the record, the documents

18   filed in connection with the motion, and the applicable law, the

19   court has determined the motion may be decided without an

20   evidentiary hearing because the files and records of the case

21   affirmatively show the factual and legal invalidity of

22   defendant’s arguments.     Shah v. United States, 878 F.2d 1156,

23   1158-59 (9th Cir. 1989).       For the reasons that follow, the motion

24   is DENIED.

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 1                                             Background

 2          Defendant was convicted September 18, 2009, pursuant to his

 3   plea of guilty, of one count of conspiracy to possess with intent

 4   to distribute methamphetamine, in violation of 21 U.S.C. §§ 846

 5   and 841(a)(1).          The plea agreement provided, among other things,

 6   that defendant waived his rights to appeal and collaterally

 7   attack his conviction and sentence.                      Plea Agreement, 6:19 - 7:5

 8   (attached as Exhibit “A”).                 Defendant was sentenced June 25, 2010

 9   to a term of 168 months imprisonment and five years supervised

10   release. The judgment was signed and entered on the docket July

11   2, 2010.       The instant motion in which defendant seeks to vacate

12   or reduce his sentence was filed July 14, 2011, within one year

13   after the judgment of conviction became final.1

14                                             Discussion

15          Defendant’s motion raises six claims of ineffective

16   assistance, each of which alleges that defendant received a

17   sentence greater than he would have but for counsel’s errors.2

18   The motion is barred by the terms of the plea agreement.

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              If no appeal is taken, a judgment of conviction is final (for purposes of calculating the
20   one-year limitations period for section 2255 motions) when the time for filing a direct appeal
     expires, which is 14 days after entry of the judgment. Fed. R. App. Pro. 4(b)(1)(A).
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            2
               The first claim alleges counsel was ineffective for failing to argue for a downward
22   adjustment to the offense level for defendant’s minor role in the offense. The second, failure to
     argue over-representation of criminal history. The third, failure to seek a continuance of
23   sentencing to investigate amendments to the sentencing guidelines which may have reduced
     defendant’s sentence. The fourth, failure to challenge defendant’s prior conviction. The fifth,
24   failure to challenge application of the guideline for “actual” vs. “mixture” of methamphetamine.
     The sixth and final claim, failure to file a sentencing memo seeking a variance based on
25   defendant’s minor role in the offense.
26                                                    2
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 1        As noted above, defendant waived his appellate rights which

 2   includes the right to collaterally attack his sentence, expressly

 3   agreeing that, “regardless of the sentence he receives, the

 4   defendant also gives up any right he may have to bring a post-

 5   appeal attack on his conviction or his sentence.         He specifically

 6   agrees not to file a motion under 28 U.S.C. § 2255 or § 2241

 7   attacking his conviction or sentence.”        Plea Agreement, 7:1-5.

 8   Defendant’s waiver of his appellate rights is enforceable if the

 9   waiver encompasses the grounds raised in the challenge, and is

10   knowingly and voluntarily made.         United States v. Joyce, 357 F.3d

11   921, 922-23 (9th Cir. 2004) (upholding waiver of appellate

12   rights); United States v. DeJarnette, 63 Fed. Appx. 284 (9th Cir.

13   2003) (upholding waiver of appeal and collateral attack).

14        Here, the waiver signed by defendant is a broad one and

15   clearly encompasses the claims raised in his motion, giving up

16   “any right he may have to bring a post-appeal attack on his

17   conviction or his sentence.”     Plea Agreement, 7:2-3 (emphasis

18   added).   Nor has defendant shown that his waiver was involuntary

19   or unknowing.   The plea agreement is clear in its expression of

20   the waiver and defendant cannot legitimately contend he did not

21   know its meaning where the agreement bears his signature and he

22   was specifically questioned by the court about his understanding

23   of the waiver during the plea colloquy.

24        None of defendant’s claims challenge the validity of the

25   waiver of the rights to appeal and collateral attack.         Here, all

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 1   six claims arise after the entry of plea and allege counsel’s

 2   ineffectiveness in the context of sentencing.        Claims not

 3   involving the validity of the appellate waiver itself, are

 4   subject to waiver.   See United States v. Bollinger, 940 F.2d 478,

 5   480 (9th Cir. 1991) (right to challenge sentencing errors on

 6   direct appeal may be explicitly waived); United States v. Nunez,

 7   223 F.3d 956, 959 (9th Cir. 2000) (where a waiver includes the

 8   right to appeal the sentence, it also waives the right to argue

 9   ineffective assistance during the sentencing proceedings).

10        In the context of a waiver of collateral attack, all

11   Circuits to have addressed the issue agree that “a valid

12   sentence-appeal waiver, entered into voluntarily and knowingly,

13   pursuant to a plea agreement, precludes the defendant from

14   attempting to attack, in a collateral proceeding, the sentence

15   through a claim of ineffective assistance of counsel during

16   sentencing.”   Williams v. United States, 396 f.3d 1340, 1342

17   (11th Cir. 2005) (collecting cases from Second, Fifth, Sixth,

18   Seventh and Tenth Circuits).     See also United States v.

19   Magueflor, 220 Fed. Appx. 603, 604 (9th Cir. 2007) (waiver of

20   collateral attack in plea agreement waives alleged claims of

21   ineffective assistance of counsel which occur after signing of

22   agreement).

23                                 Conclusion

24        Based on the foregoing, defendant’s motion to vacate, set

25   aside or correct his sentence is DENIED, defendant having waived

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 1   the right to bring a collateral attack on his sentence as part of

 2   his plea agreement.    The Clerk of Court is directed to close

 3   companion civil case Civ. S. No-11-1866 EJG.

 4        IT IS SO ORDERED.

 5   Dated: September 30, 2011

 6                                    /s/ Edward J. Garcia
                                      EDWARD J. GARCIA, JUDGE
 7                                    UNITED STATES DISTRICT COURT

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